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FILED IN OPEN COURT
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UNITED STATES DISTRICT COURT CLERK. US. DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA GGL ORT EP EE Seen:
JACKSONVILLE DIVISION JACASONVILLE, FLORIDA
UNITED STATES OF AMERICA
v. CASE NO. 3:20-cr-111-BJD-JRK
EDDIE ANGEL MARTINEZ-MARQUEZ
a/k/a “Macho,”
a/k/a “Machito,”
a/k/a “Manchito,”

a/k/a “Barbu,”
a/k/a “bin Laden”

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Karin
Hoppmann, Acting United States Attorney for the Middle District of Florida, and
the defendant, EDDIE ANGEL MARTINEZ-MARQUEZ, and the attorney for the
defendant, Edwin Javier Prado-Galarza, Esq., mutually agree as follows:
A.  Particularized Terms

1. Count Pleading To

The defendant shall enter a plea of guilty to Count One of the

Indictment. Count One charges the defendant with conspiracy to possess with intent
to distribute and to distribute, five kilograms or more of a substance and mixture

containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(A).

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2; Minimum and Maximum Penalties
Count One is punishable by a mandatory minimum term of
imprisonment of 10 years up to life imprisonment, a fine of $10,000,000, both
imprisonment and a fine, a term of supervised release of at least five years, a special
assessment of $100, and in the event of a violation of the terms of supervised release,
an additional term of imprisonment of not more than five years, possibly followed by
an additional term of supervised release.
3. Apprendi v. New Jersey
Under Apprendi v. New Jersey, 530 U.S. 466 (2000), a sentence of a
mandatory minimum term of imprisonment of 10 years up to life imprisonment may
be imposed because the following facts have been admitted by the defendant and are
established by this plea of guilty: the quantity of cocaine involved in the conspiracy
was five kilograms or more.

4. Elements of the Offense

The defendant acknowledges understanding the nature and elements of
the offense with which defendant has been charged and to which defendant is
pleading guilty. The elements of Count One are:

One: two or more people in some way agreed to try to

accomplish a shared and unlawful plan to possess with

intent to distribute and to distribute cocaine;

Two: the Defendant knew the unlawful purpose of the plan and
willfully joined in it; and

Three: the object of the unlawful plan was to possess with the

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intent to distribute and to distribute five kilograms or more
of cocaine.

5. Count Dismissed

At the time of sentencing, the remaining count against the defendant,

Count Two, will be dismissed pursuant to Fed. R. Crim. P. 11(c)(1)(A).
6. Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse information
is received suggesting such a recommendation to be unwarranted, the United States
will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG §3E1.1(a). The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to
withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level prior
to operation of subsection (a) is level 16 or greater, and if the defendant complies
with the provisions of USSG §3E1.1(b) and all terms of this Plea Agreement,
including but not limited to, the timely submission of the financial affidavit
referenced in Paragraph B.5., the United States agrees to file a motion pursuant to
USSG §3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely

with the United States Attorney for the Middle District of Florida, and the defendant

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agrees that the defendant cannot and will not challenge that determination, whether
by appeal, collateral attack, or otherwise.
7. Adjusted Offense Level
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), based on the information now
available to the parties, the United States and the defendant will recommend to the

Court that the defendant's adjusted offense level be calculated at 32, as determined

 

 

 

 

 

 

 

 

below:
Guideline Description Levels
§2D1.1 Base Offense 32
§ 2B1.1(b) Role in Offense +3
§ 3E1.1 Acceptance of Responsibility -3
Total Adjusted Offense Level 32

 

 

The defendant understands that this calculation is not binding on the Court,
and if not accepted by the Court, the defendant will not be allowed to withdraw from
the plea. The defendant further understands that if the United States learns of
information that would make this calculation inaccurate and discloses that
information to the defendant before sentencing, then neither the United States nor
the defendant will be required to recommend to the Court that the defendant's
adjusted offense level is 32.

8. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and

voluntarily any and all assets and property, or portions thereof, subject to forfeiture,

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pursuant to 21 U.S.C. § 853, whether in the possession or control of the United
States, the defendant or defendant's nominees. The assets to be forfeited specifically
include, but are not limited to, the $500,000.00 proceeds the defendant admits he
obtained, as the result of the commission of the offense(s) to which the defendant is
pleading guilty. The defendant further consents to the filing of a motion by the
United States for immediate entry of an order of forfeiture.

The defendant acknowledges and agrees that: (1) the defendant
obtained this amount as a result of the commission of the offense(s), and (2) as a
result of the acts and omissions of the defendant, the proceeds have been transferred
to third parties and cannot be located by the United States upon the exercise of due
diligence. Therefore, the defendant agrees that, pursuant to 21 U.S.C. § 853(p), the
United States is entitled to forfeit any other property of the defendant (substitute
assets), up to the amount of proceeds the defendant obtained, as the result of the
offense(s) of conviction. The defendant further consents to, and agrees not to
oppose, any motion for substitute assets filed by the United States up to the amount
of proceeds obtained from commission of the offense(s) and consents to the entry of
the forfeiture order into the Treasury Offset Program. The defendant agrees that
forfeiture of substitute assets as authorized herein shall not be deemed an alteration
of the defendant's sentence.

The defendant additionally agrees that since the criminal proceeds have
been transferred to third parties and cannot be located by the United States upon the

exercise of due diligence, the preliminary and final orders of forfeiture should

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authorize the United States Attorney’s Office to conduct discovery (including
depositions, interrogatories, requests for production of documents, and the issuance
of subpoenas), pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal
Procedure, to help identify, locate, and forfeit substitute assets.

The defendant also agrees to waive all constitutional, statutory, and
procedural challenges (including direct appeal, habeas corpus, or any other means) to
any forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of
the guilty plea, announced at sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in the
Factual Basis below provides a sufficient factual and statutory basis for the forfeiture
of the property sought by the government. Pursuant to Rule 32.2(b)(4), the
defendant agrees that the preliminary order of forfeiture will satisfy the notice
requirement and will be final as to the defendant at the time it is entered. In the
event the forfeiture is omitted from the judgment, the defendant agrees that the
forfeiture order may be incorporated into the written judgment at any time pursuant
to Rule 36.

The defendant agrees to take all steps necessary to identify and locate
all substitute assets and to transfer custody of such assets to the United States before
the defendant’s sentencing. To that end, the defendant agrees to make a full and

complete disclosure of all assets over which defendant exercises control, including all

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assets held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by the
defendant, and to consent to the release of the defendant’s tax returns for the

previous five years. The defendant agrees to be interviewed by the government, prior
to and after sentencing, regarding such assets. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United States.
The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § 1B1.8
will not protect from forfeiture assets disclosed by the defendant as part of the
defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to any substitute assets before the defendant’s
sentencing. In addition to providing full and complete information about substitute
assets, these steps include, but are not limited to, the surrender of title, the signing of
a consent decree of forfeiture, and signing of any other documents necessary to
effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be

found ineligible for a reduction in the Guidelines calculation for acceptance of

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responsibility and substantial assistance, and may be eligible for an obstruction of
justice enhancement.

The defendant agrees that the forfeiture provisions of this plea agreement are
intended to, and will, survive the defendant, notwithstanding the abatement of any
underlying criminal conviction after the execution of this agreement. The
forfeitability of any particular property pursuant to this agreement shall be
determined as if the defendant had survived, and that determination shall be binding
upon defendant’s heirs, successors and assigns until the agreed forfeiture, including
the forfeiture of any substitute assets, is final.

B. Standard Terms and Conditions
1, Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses described in
18 U.S.C. § 3663A(c)(1); and the Court may order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663, including restitution as
to all counts charged, whether or not the defendant enters a plea of guilty to such
counts, and whether or not such counts are dismissed pursuant to this agreement.
The defendant further understands that compliance with any restitution payment
plan imposed by the Court in no way precludes the United States from
simultaneously pursuing other statutory remedies for collecting restitution (28 U.S.C.

§ 3003(b)(2)), including, but not limited to, garnishment and execution, pursuant to

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the Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure that this
obligation is satisfied, the Defendant agrees to deliver a check or money order to the
Clerk of the Court in the amount of $100, payable to "Clerk, U.S. District Court"
within ten days of the change of plea hearing.

The defendant understands that this agreement imposes no limitation as
to fine.

em Supervised Release

The defendant understands that the offense to which the defendant is
pleading provides for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon conviction,
a defendant who is not a United States citizen may be removed from the United
States, denied citizenship, and denied admission to the United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the Court

and the United States Probation Office all information concerning the background,

character, and conduct of the defendant, to provide relevant factual information,

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including the totality of the defendant's criminal activities, if any, not limited to the
count to which defendant pleads, to respond to comments made by the defendant or
defendant's counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate
regarding the disposition of this case, subject to any limitations set forth herein, if
any.
5, Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),
the defendant agrees to complete and submit to the United States Attorney's Office
within 30 days of execution of this agreement an affidavit reflecting the defendant's
financial condition. The defendant promises that his financial statement and
disclosures will be complete, accurate and truthful and will include all assets in
which he has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, dependent, nominee or other third party.
The defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by the
defendant, directly or through a nominee, and, by the execution of this Plea
Agreement, consents to the release of the defendant's tax returns for the previous five
years. The defendant similarly agrees and authorizes the United States Attorney's
Office to provide to, and obtain from, the United States Probation Office, the
financial affidavit, any of the defendant's federal, state, and local tax returns, bank

records and any other financial information concerning the defendant, for the

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purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The defendant
expressly authorizes the United States Attorney's Office to obtain current credit
reports in order to evaluate the defendant's ability to satisfy any financial obligation
imposed by the Court.

6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor

bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared
by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations and
present arguments to the Court, the sentence will be determined solely by the Court,
with the assistance of the United States Probation Office. Defendant further
understands and acknowledges that any discussions between defendant or
defendant's attorney and the attorney or other agents for the government regarding
any recommendations by the government are not binding on the Court and that,
should any recommendations be rejected, defendant will not be permitted to
withdraw defendant's plea pursuant to this plea agreement. The government
expressly reserves the right to support and defend any decision that the Court may
make with regard to the defendant's sentence, whether or not such decision is

consistent with the government's recommendations contained herein.

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ds Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant's sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States
Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant's applicable guidelines range as determined by the Court pursuant to the
United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government exercises
its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then
the defendant is released from his waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and cannot bind other
federal, state, or local prosecuting authorities, although this office will bring
defendant's cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

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9. Filing of Agreement

This agreement shall be presented to the Court, in open court or in
camera, in whole or in part, upon a showing of good cause, and filed in this cause, at
the time of defendant's entry of a plea of guilty pursuant hereto.

10.  Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or coercion
of any kind. The defendant further acknowledges defendant's understanding of the
nature of the offense or offenses to which defendant is pleading guilty and the
elements thereof, including the penalties provided by law, and defendant's complete
satisfaction with the representation and advice received from defendant's
undersigned counsel (if any). The defendant also understands that defendant has the
right to plead not guilty or to persist in that plea if it has already been made, and that
defendant has the right to be tried by a jury with the assistance of counsel, the right
to confront and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading guilty,
defendant waives or gives up those rights and there will be no trial. The defendant

further understands that if defendant pleads guilty, the Court may ask defendant

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questions about the offense or offenses to which defendant pleaded, and if defendant
answers those questions under oath, on the record, and in the presence of counsel (if
any), defendant's answers may later be used against defendant in a prosecution for
perjury or false statement. The defendant also understands that defendant will be
adjudicated guilty of the offenses to which defendant has pleaded and, if any of such
offenses are felonies, may thereby be deprived of certain rights, such as the right to
vote, to hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth in the
attached "Factual Basis," which is incorporated herein by reference, are true, and
were this case to go to trial, the United States would be able to prove those specific
facts and others beyond a reasonable doubt.
12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the

defendant or defendant's attorney with regard to such guilty plea.

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13. Certification
The defendant and defendant's counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant
fully understands its terms.
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(d J
DATED this_% _ day of Appsil, 2021.

KARIN HOPPMANN
Acting United States Attorney

 

 

 

 

ED A /MMARTINEZ-MARQUEZ MICHAEL J“COOLICAN

D nt Assistant Jnited States Attorney
LZ AM, bn fo

EDWIN J. PRADO-GALARZA FRANK TALBOT

Attorney for Defendant Assistant United States Attorney

Chief, Jacksonville Division

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA
Vv. CASE NO. 3:20-cr-111-BJD-JRK

EDDIE ANGEL MARTINEZ-MARQUEZ
a/k/a “Macho,”
a/k/a “Machito,”
a/k/a “Manchito,”
a/k/a “Barbu,”
a/k/a “bin Laden”

PERSONALIZATION OF ELEMENTS

As to Count One:

1. Do you admit that no later than December 2016 and continuing
through August 30, 2018, in the Middle District of Florida, you and at least one
other person in some way agreed to try to accomplish a shared and unlawful plan to
possess with intent to distribute and to distribute cocaine, a Schedule II controlled
substance?

2. Did you know the unlawful purpose of the plan and willfully join
in it?

3. Do you admit that the object of the unlawful plan was to possess
with the intent to distribute and to distribute five kilograms or more of cocaine?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA
V. CASE NO. 3:20-cr-111-BJD-JRK
EDDIE ANGEL MARTINEZ-MARQUEZ

a/k/a “Macho,”

a/k/a “Machito,”

a/k/a “Manchito,”

a/k/a “Barbu,”

a/k/a “bin Laden”

FACTUAL BASIS

Beginning no later than December 2016 and continuing through August 30,
2018, the defendant, Eddie Angel Martinez-Marquez, conspired with other
individuals, including two individuals who later became cooperating defendants
(CD1 and CD2) to possess with intent to distribute and to distribute cocaine. The
parties estimate that the conspiracy involved the distribution of at least 15 kilograms,
but fewer than 50 kilograms, of cocaine.

According to CD1, in December 2016, the defendant began supplying him
with cocaine, which CD1 would then sell in the Jacksonville, Florida area. The
defendant supplied cocaine to CD 1 until CD1’s arrest on August 30, 2018.
According to CD1, initially, he was buying an ounce of cocaine at a time from the
defendant, but amounts increased over time, and on certain occasions, the defendant

would supply CD1 with two kilograms of cocaine in a single transaction. Even after

CD1 began buying cocaine from other sources of supply, he continued to buy

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cocaine from the defendant, usually one or two kilograms per transaction, typically
twice per month. According to CD1, the defendant charged him $27,000 per
kilogram, and at times, “fronted” him the drugs, or gave the drugs to him on credit.

According to CD1, in his dealings with the defendant, CD1 typically would
send a courier to retrieve cocaine and deliver cash payments, but on some occasions,
the defendant would send his own courier to meet with CD1 to deliver cocaine or
receive payments. During the summer of 2018, CD2 worked as a courier for CD1.
According to CD1, one of the locations where CD2 and other couriers would receive
cocaine or deliver cash was an apartment at the Camden Lee Vista apartment
complex in Orlando, Florida.

In March 2018, federal agents saw the defendant driving to and from the
Camden Lee Vista apartment complex. A particular apartment at that complex,
number 1826, was leased to a family member of the defendant, and the utilities for it
were in the name of the defendant’s longtime girlfriend.

CD2 has told law enforcement that on five or six occasions in 2018, he acted
as a courier for CD 1, picking up cocaine at an apartment complex in Orlando and
sometimes delivering cash. According to CD2, the cocaine that he received at the
apartment was supplied by the defendant or an associate of his. The least amount of
cocaine that CD2 picked up was one kilogram, and the most was three kilograms.
According to CD2, on one occasion, he delivered $78,000 to the defendant at the
apartment in Orlando. He did so on behalf of CD1 and understood that the money

was payment for a drug debt.

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In 2018, federal agents obtained court authorization to intercept certain
telephonic communications. The intercepted communications were typically in
Spanish, but are described in English below. Multiple witnesses have identified the
defendant’s voice on the calls attributed to him below.

The content of intercepted telephone conversations between CD1 and CD2
and between CD1 and the defendant, as well as historical cell-site information,
establish that CD2 travelled from Jacksonville to Orlando and directly back in the
evening of August 8 and early morning hours of August 9, 2018. It is clear from the
intercepted conversations that, at CD1’s direction, CD2 went to an apartment in
Orlando to pick something up, which he then returned with to Jacksonville. While
CD2 was on his way to Orlando, CD1 spoke with the defendant to update him on
CD2’s arrival time at the apartment. During these calls, the individuals were careful
not to specify on the phone what it was that CD2 was retrieving.

Intercepted telephone conversations and historical cell-site information
establish that CD2 made another run from Jacksonville to Orlando and back in the
evening of August 10 and early morning of August 11. As with the prior trip, CD2
stayed in contact with the CD1 by phone. During a recorded call, CD1 told CD2
that he was to pick up “one” at the apartment and wait there for another “two,”
which CD2 indicated he would do. DEA and FBI agents surveilled CD2 as he drove
an SUV from Jacksonville to the Camden Lee Vista apartment complex in Orlando.
Agents saw him retrieve a key from under the front door mat and enter apartment

1826.

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CD1 later received a call from the defendant who told him that CD2 should
take the “one” that was there and that he (the defendant) would have to send “Peter”
the next day. When CD1 started to complain, the defendant assured him that he
would make a call right then so that there would be a pickup at 8:00 or 9:00 a.m. In
response, CD1 appeared to push the defendant to make sure that their business could
be completed soon, explaining that he (CD 1) had already arranged to meet with the
“young guy” at 11:00 a.m.

The agents surveilling CD2 eventually saw him leave the apartment carrying
an object to the SUV in which he had arrived. CD2’s return drive to Jacksonville
was interrupted when a Florida Highway Patrol Trooper stopped CD2 for a traffic
offense in Jacksonville. The Trooper arrested CD2 for driving with a suspended
license and took him from the scene. Thereafter, a law enforcement canine (trained
in the detection of illegal drugs) conducted a free air sniff of the SUV and alerted,
indicating the presence of drugs. Federal agents then searched the SUV and located
a well-hidden bundle of cocaine that weighed approximately one kilogram.

CD2 was not charged with a drug offense at that time and law enforcement
did not disclose to him that a kilogram of cocaine was found hidden in the SUV.
After CD2 was released from custody for the driving offense, he made no effort to
recover the SUV or his cellphone, which had been seized when he was arrested.

Historical cell-site information associated with that seized cellphone shows
that CD2 travelled from Jacksonville to the Orlando area and returned almost

immediately on at least two other occasions prior to the two trips described above.

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On August 14, 2018, the defendant called CD1 and they discussed the
defendant’s source of supply, who was referred to as the “owner of that work.” The
defendant told CD1 that he had informed his source that “this situation happened”
and that he was hoping to get something at the lower “price from over there,” which
he could pay in “two installments.” He discussed with CD1 the fact that there is “no
work,” that “work is expensive,” but that “when the work arrives here is when it
gains value.” The defendant explained that he had arranged to have CD1 pay back
the source by giving him an extra “3,000 bucks” for each of the next “three works”
for a total of “25 for the work.” This was acceptable to CD1, who remarked that he
could “let it go at 30,” that is, sell each kilogram of cocaine for $30,000.

During this call, the defendant also told CD1 to send him a car so that a
“system” could be installed, because CD1 “can’t take any more risks.” He added
“that thing falling and nobody doing anything,” /e. no one being arrested, “smells
like an investigation.” The defendant described the installation in cars of vacuum-
sealed compartments that prevent canines from detecting hidden drugs. He
instructed CD1 that a car equipped with such a compartment should not be used as
one’s everyday car. He advised that “these little mistakes could get us fucked.”

On August 23, 2018, CD1 had a series of intercepted calls with an individual
(Associate 1) setting up a meeting and negotiating a price. They eventually agreed
on “twenty-nine” for one and “twenty-nine five” for “another one.” In the
meantime, CD 1 fielded a series of calls from a man later identified as a person

having the first name Peter. Using a phone with an Orlando area code, “Peter”

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Defendant’s Initials EM
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reported to CD1 on his estimated time of arrival at a commercial property where
CD1 and CD2 operated their drug business. Later that day, surveillance teams
observed CD1, CD2, Associate 1, and “Peter” all at the commercial property.

On August 30, 2018, federal agents executed a search warrant at the
commercial property. Agents located, among other things, three bags containing
approximately 200 grams of cocaine, empty kilo wrappers and other plastic bags
containing cocaine residue, assorted ammunition, and firearm magazines. CD1 and
CD2 were present at the commercial property and arrested. Following their arrest,
the defendant stopped using the phone number that he had used to communicate

with CD1.

Defendant’s Initials EAM _
